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56789:6;<4;=>?:6@A4:BCDE=FGHIJ4;=?
4
56789<K46:><A4 :6K<97=64<@<4;:9<4=L4M<7N4N<66<77<<
56789<K4<E>:5OA4
O=774O=;:N5=6A4 11/4<4O=;87N47NP4K9<7K<6P4N64/Q33R
?=O5;@4SA4              ./3T11T.1U
K:N<4=L4O=77A4          1301.03.31
;=>?:6@4;O:5>4SA4 /..E.VTTT.UE3.31
8;74L5O<46=A4           7ER1V13/R
N@?<4=L4O=77A4          N=96:K=4W5N4:9<:4E4?=9N5=64=L4X85OK56Y4W:74<Z;<775[<4K:>:Y<P4<\85?><6N4M5NW4M:N<9
                        K:>:Y<]
:K^87N<9A4              >_`abHc4dG_eaC4f4_GJBIbG`HbghBJCHIi_jHkeib_c]`Di4f4T.2E3UUERV/R
4
7l13973m2 3l no               K:N<4:775Y6<K K:N<4;=6N:;N<K                     :??=56N><6N4K:N< K:N<4567?<;N<K
                                  .Q0.203.33             .Q0.203.33
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 4
 ?OHbJH4p_Gg4CaH4bCCb`aHg4GDC_`H4Dp47HIq_`H4IH`H_qHg4DG4Ca_J4`cb_i]45p4rDB4GHHg4bGrCa_Ge4pIDi4BJ4DG4Ca_JP4scHbJH4cHC4iH4jGDF]
 NabGj4@DBP
 NDiir4Wbc̀Di
 [?4Dp4=sHIbC_DGJ
 8G_CHg4;cb_iJ47HIq_`H
 T.2EU1QE12..
 Cabc̀DikB`JbghBJCHIJ]`Di
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